










TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN




NO. 03-05-00811-CR
NO. 03-05-00812-CR
NO. 03-05-00813-CR





The State of Texas, Appellant


v.


John Dominick Colyandro, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT
NOS. D-1-DC-05-904150, D-1-DC-05-904156 &amp; D-1-DC-05-904159
HONORABLE WAYNE PATRICK PRIEST, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N
&nbsp;
The State appeals the district court’s order quashing those portions of the indictments
against John Dominick Colyandro accusing him of conspiring to violate the election code.  See Tex.
Pen. Code Ann. § 15.02 (West 2003); Tex. Elec. Code Ann. §§ 253.003, .094, .104 (West 2003). 
These causes are companions to those before us in State v. DeLay, Nos. 03-05-00817-CR and 03-05-00818-CR, decided this day, and raise the same issue:  whether the penal code’s conspiracy provision
applied to the election code at the time of the alleged criminal conduct.  For the reasons stated in
DeLay, we hold that it did not.
The district court’s order is affirmed.
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;__________________________________________
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Bea Ann Smith, Justice
Before Justices B. A. Smith, Puryear and Waldrop
Affirmed
Filed:   April 19, 2006
Do Not Publish


